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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                      No. 3:21-CR-00366-S

YAROSLAV VASINSKYI
a/k/a Profcomserv
a/k/a Rabotnik
a/k/a Rabotnik_New
a/k/a Yarik45
a/k/a Yaroslav2468
a/k/a Affiliate 22


      GOVERNMENT’S NOTICE REGARDING SENTENCING MATERIALS

        At this time, the government files this notice regarding sentencing materials.

Other than the government’s response to the defendant’s memorandum filed as Dkt. 75,

which the government will file on or before January 15, 2024, pursuant to the Court’s

Order (Dkt. 71), all written materials pertaining to sentencing in this case have been filed.

                                             Respectfully submitted,

                                             LEIGHA SIMONTON
                                             UNITED STATES ATTORNEY

                                             /s/ Tiffany H. Eggers
                                             TIFFANY H. EGGERS
                                             Assistant United States Attorney
                                             Florida Bar No.: 0193968
                                             1100 Commerce Street - 3rd Floor
                                             Dallas, Texas 75242
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                              CERTIFICATE OF SERVICE

       On January 11, 2024, I electronically submitted this document to the Clerk of the

Court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court, which will provide a copy of this document to defendant’s

counsel. The government will also email a copy to the United States Probation Officer

assigned to the case.

                                             /s/ Tiffany H. Eggers
                                             TIFFANY H. EGGERS
                                             Assistant United States Attorney




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